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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )     CRIMINAL ACTION NO.
        v.                             )         2:06cr71-MHT
                                       )             (WO)
BERNETTA LASHAY WILLIS                 )

                                    ORDER

    It       is    ORDERED     that    defendant      Bernetta     Lashay

Willis’s      motion     for   reduction     of   sentence   under      the

First Step Act of 2018 (doc. no. 373) is denied.



                                      ***

    Defendant Willis appears to seek a reduction based

on the provision in the First Step Act that “granted

district courts discretion to reduce the sentences of

crack-cocaine offenders in accordance with the amended

penalties         in   the   Fair     Sentencing     Act   [of    2010].”

United States v. Jones, 962 F.3d 1290, 1297 (11th Cir.

2020)    (citing       First   Step    Act   of    2018,   Pub.   L.    No.

115-391, § 404, 132 Stat. 5194).              Because defendant was
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convicted of a marijuana offense, not a crack cocaine

offense, she is not eligible for a sentence reduction.

    DONE, this the 8th day of February, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
